         Case 1:17-cv-04179-DLC Document 115 Filed 04/20/18 Page 1 of 3




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND EXCHANGE
 COMMISSION,
                                                               Civil No. 1:17-CV-04179-DLC
        Plaintiff,
                                                              Honorable Judge Denise L. Cote
 v.                                                           Magistrate Judge Ronald L. Ellis

 ALPINE SECURITIES CORPORATION,

        Defendant.


       DECLARATION OF MARANDA FRITZ IN SUPPORT OF ALPINE’S
   REQUEST FOR LEAVE TO SUBMIT FACTUAL EXHIBITS IN SUPPORT OF ITS
                  MOTIONS FOR RECONSIDERATION

       I, Maranda E. Fritz, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury under

the laws of the United States of America that the following statements are true and correct:

       1.      I am a resident of the State of New York and well over 18 years of age, and make

the statements herein based on my personal knowledge.

       2.      I am legal counsel for Alpine Securities Corporation (“Alpine”), the above-named

Defendant in its action against Plaintiff United States Securities and Exchange Commission

(“SEC”).

       3.      Pursuant to Local Rule 6.3, Alpine has filed Motions for Reconsideration and

requested leave of Court to submit multiple factual exhibits in support of its Motions, including

an expert declaration, additional sample Suspicious Activity Reports (“SARs”), deposition

testimony, and a letter, dated May 20, 2015, providing Alpine’s response to the Examination

Findings of the SEC’s Office of Compliance Inspections and Examinations (“OCIE”). The

substance and basis for the request to submit each of these exhibits is set forth in the Alpine’s
         Case 1:17-cv-04179-DLC Document 115 Filed 04/20/18 Page 2 of 3




Memorandum of Law in Support of Alpine’s Request for Leave to Submit Factual Exhibits in

Support of its Motions for Reconsideration.

       4.      Attached hereto as Exhibit A is a true and correct copy of a declaration executed

by Alpine’s expert, Beverly E. Loew.

       5.      Attached hereto as Exhibit B is a true and correct copy of excerpts from Alpine’s

Rule 30(b)(6) Deposition, conducted on March 13, 2018, with Christopher L. Frankel, CEO of

Alpine, as Alpine’s designee.

       6.      Attached hereto as Exhibit C is a true and correct copy of excerpts from a “draft”

of Leia Farmer’s Deposition, conducted on April 19, 2018 (one day prior to this filing). A

completed copy of Ms. Farmer’s Deposition transcript is expected by Monday, April 23, 2018

and can be provided to the Court.

       7.      Attached hereto as Exhibit D is a true and correct copy of excerpts from Randall

Jones’ Deposition, conducted on March 20, 2018.

       8.      Attached hereto as Exhibit E is a true and correct copy of excerpts from Erin

Green’s Deposition, conducted on March 14, 2018.

       9.      Attached hereto as Exhibits F through M are slip sheets for additional sample

SARs for the Court’s consideration. True and correct copies of the sample SARs in Ex. F

through M are being filed under seal pursuant to the Court’s standing order, set forth in the

Endorsed Letter dated November 1, 2017, Dkt. No. 53.

       10.     Attached hereto as Exhibit N is a true and correct copy of Alpine’s letter, dated

May 20, 2015, responding to OCIE’s Report of Examination.




                                                 2
 Case 1:17-cv-04179-DLC Document 115 Filed 04/20/18 Page 3 of 3




WHEREFORE, I declare under penalty of perjury that the foregoing is true and correct.


DATED this 20th day of April, 2018.


                                    /s / Maranda E. Fritz
                                    Maranda E. Fritz




                                       3
